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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                  :
                                                          :
         v.                                               :        Criminal Action No.: 21-327 (RC)
                                                          :
LUKE RUSSELL COFFEE,                                      :        Re Document Nos.: 47, 49, 50
                                                          :
         Defendant.                                       :

                                                     ORDER

    GRANTING IN PART AND DENYING IN PART DEFENDANT’S MOTIONS TO MODIFY CONDITIONS
       OF SUPERVISED RELEASE; DENYING DEFENDANT’S MOTIONS TO FILE UNDER SEAL

         Pending before this Court are three identical motions to modify the conditions of pretrial

release. 1 See Opposed Mot. Modify Pretrial Conditions of Release (“Mot.”), ECF Nos. 47-1, 49-

1, 50-1. For the reasons stated on the record at the June 27, 2022 Status Conference, it is hereby

ORDERED that the Motion will be GRANTED IN PART as follows:

              •   The Court expands the geographic limits of the pretrial conditions to include the
                  Western District of Texas for the purpose of meeting with Defendant’s attorney,
                  who is located in that district.

              •   The Court clarifies that Defendant may request permission to travel overnight
                  within the Northern, Eastern, and Western Districts of Texas for work-related
                  purposes. The Defendant must request such permission in advance and in writing
                  to the Eastern District of Texas Pretrial Services. That office may grant the
                  request if the requested travel is work-related. Defendant may not travel
                  overnight without receiving permission in advance.

         It is FURTHER ORDERED that the motions to modify pretrial conditions are DENIED

in all other respects.

         Finally, Defendant sought leave to file the three identical motions under seal in order to

“to protect his personal information and finances.” See Mot. Leave File Under Seal at 1, ECF


1
 The same motion was apparently filed multiple times in error; accordingly, the Court will address all three
collectively.
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Nos. 47, 49, 50. The motions contain only a general depiction of the Defendant’s business, and

none of the types of highly sensitive and third-party information that courts typically find to

warrant sealing or redaction. See United States v. Hubbard, 650 F.2d 293, 320, 323 (D.C. Cir.

1980) (noting that a third-party’s privacy interest in seized documents weighed against

disclosure); see, e.g., Lee as Next Friends of M.L. v. Seed Pub. Charter Sch. of Washington,

D.C., No. CV 18-2786, 2021 WL 4819897, at *5 (D.D.C. Oct. 15, 2021) (allowing redaction of a

social security number and a minor child’s identifying information). Accordingly, it is

FURTHER ORDERED that leave to file the Motions under seal is DENIED.

       SO ORDERED.




Dated: June 27, 2022                                               RUDOLPH CONTRERAS
                                                                   United States District Judge




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